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Document ID: FQ-2025-995
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
Robert H. Rivernider, Attorney in fact for ROBERT HENRY RIVERNIDER, JR., PLAINTIFF
V.
CLERK OF THE COURT, DEFENDANT

Case No: 5:24-CR-00138-TRP-PRL-1 RELATED CASE #3:-10CR-00222 Dristrict of CT
exercising my right to suspend the power of attorney

incorporating federal questions

the power of attorney is inherent in the petitioner

TABLE OF AUTHORITIES

STATUTES

U.S. CONST. AMEND. I

— Secures personal autonomy in association, choice of advocacy, and contractual relations.

U.S. CONST. AMEND. IV

— Protects against seizure of person or rights without probable cause or lawful warrant.

U.S. CONST. AMEND. V

— Secures due process and prohibits compulsory self-incrimination through forced counsel.

U.S. CONST. AMEND. VI

— Guarantees the accused the right to counsel of their choosing and to self-representation.

U.S. CONST. AMEND. XIII

— Forbids compelled legal servitude; representation without consent violates this mandate.

U.S. CONST. ART. I, § 10, CL. 1

— Prohibits state interference with contracts, including revocable agency delegations.
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SUPREME COURT AUTHORITIES
Faretta v. California, 422 U.S. 806 (1975)
— Establishes the constitutional right to self-representation as an expression of individual

autonomy.

United States v. Gonzalez-Lopez, 548 U.S. 140 (2006)

— Holding that denial of counsel of choice is structural error requiring reversal.

Ex parte Milligan, 71 U.S. (4 Wall.) 2 (1866)

— Individual rights to liberty and due process cannot be suspended by state procedure.

Powell v. Alabama, 287 U.S. 45 (1932)

— Right to counsel includes right to meaningful choice and competent representation.

Mapp v. Ohio, 367 U.S. 643 (1961)

— Reinforces that constitutional guarantees must be enforced against all state actions.

West Virginia State Board of Education v. Barnette, 319 U.S. 624 (1943)

—No state actor may compel speech or action contrary to individual constitutional rights.

Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971)

— Federal actors may be held accountable for violation of constitutional rights under color of law.

People v. Marsden, 2 Cal.3d 118 (1970)
— Although a state case, widely adopted by federal courts; establishes the right to request removal

of appointed counsel via evidentiary hearing.

Bond v. United States, 564 U.S. 211 (2011)
— An individual has standing to challenge the constitutional limits of federal authority that

interfere with personal liberty.

Each authority above establishes, supports, or compels the recognition of the individual’s
exclusive power to authorize or revoke legal representation, the duty of the court to honor that
revocation, and the unlawfulness of combining agency assumptions with structural denials of due

process
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STATEMENT OF CLAIM

the petitioner acknowledges the fact that he has constitutionally secured rights, both rights cannot be
abrogated (repeal or do away with (a law, right, or formal agreement). "a proposal to abrogate
temporarily the right to strike"), seized and/or commandeered by public servants! Right secured by the
Constitution survive delegation of authority of the Constitution these are the enumerated rights protected
by the Bill of Rights. THIS ACTION ARISES UNDER CONSTITUTIONALLY SECURED LAW.

1. THE POWER OF ATTORNEY IS INHERENT IN THE INDIVIDUAL

FACT: THE FOUNDATIONAL PRINCIPLE OF THE LAW OF AGENCY AFFIRMS THAT THE
POWER OF ATTORNEY IS A PRIVATE CONTRACTUAL DELEGATION OF ONE’S INHERENT
CAPACITY TO ACT. THE AGENCY RELATIONSHIP ARISES FROM CONSENT AND MAY BE
TERMINATED AT WILL, UNLESS SPECIFICALLY MADE IRREVOCABLE BY A CLEAR AND
EXPRESS AGREEMENT, WHICH COURTS STRICTLY CONSTRUE.

CONCLUSION OF LAW: SINCE THE RIGHT TO ACT AND DELEGATE IS GROUNDED IN
ONE’S PERSONAL LIBERTY, ANY SUCH DELEGATION—WHETHER BY FORMAL WRITTEN
INSTRUMENT OR EXPRESS ORAL GRANT—REMAINS REVOCABLE ABSENT A LEGALLY
RECOGNIZED IRREVOCABILITY CLAUSE. THE COURTS RECOGNIZE NO SUCH CLAUSE IN
THE RELATIONSHIP BETWEEN A CRIMINAL DEFENDANT AND APPOINTED COUNSEL
UNLESS VOLUNTARILY AND KNOWINGLY WAIVED.

2. THE RIGHT TO COUNSEL OF CHOICE IS CONSTITUTIONALLY PROTECTED

FACT: THE UNITED STATES SUPREME COURT HELD IN UNITED STATES V. GONZALEZ-
LOPEZ, 548 U.S. 140 (2006), THAT THE SIXTH AMENDMENT GUARANTEES A DEFENDANT
THE RIGHT TO BE REPRESENTED BY THE ATTORNEY OF THEIR CHOOSING, AND THAT
WRONGFUL DEPRIVATION OF THAT RIGHT IS A STRUCTURAL CONSTITUTIONAL ERROR.

CONCLUSION OF LAW: THE INDIVIDUAL TO WHOM THE SIXTH AMENDMENT RIGHT
ATTACHES—NOT THE COURT, NOR THE STATE—HOLDS THE AUTHORITY TO APPOINT
OR REMOVE LEGAL COUNSEL. AS THE SIXTH AMENDMENT IS SELF-EXECUTING, THE
GOVERNMENT MAY NOT INTERFERE WITH THE EXERCISE OR REVOCATION OF THAT
APPOINTMENT WITHOUT VIOLATING DUE PROCESS AND THE RIGHT TO AUTONOMY IN
LEGAL DEFENSE.
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3. TERMINATION OF APPOINTED COUNSEL IS A JUDICIALLY RECOGNIZED RIGHT

FACT: IN PEOPLE V. MARSDEN, 2 CAL.3D 118 (1970), THE CALIFORNIA SUPREME COURT
ESTABLISHED THAT A CRIMINAL DEFENDANT HAS A RIGHT TO REQUEST
SUBSTITUTION OF APPOINTED COUNSEL AND MUST BE ALLOWED TO PRESENT
REASONS IN SUPPORT OF SUCH A REQUEST IN A PRIVATE, EVIDENTIARY HEARING. THIS
HAS BECOME NATIONALLY RECOGNIZED IN "MARSDEN HEARINGS" JURISPRUDENCE.

CONCLUSION OF LAW: A JUDICIAL FORUM THAT REFUSES TO HONOR THE
INDIVIDUAL’S REQUEST TO TERMINATE COUNSEL FAILS TO COMPLY WITH THE
PROCEDURAL DUE PROCESS REQUIRED UNDER THE FIFTH AND SIXTH AMENDMENTS.
IT IS NOW SETTLED LAW THAT A DEFENDANT MAY DISCHARGE COUNSEL AND
PROCEED EITHER PRO SE OR WITH ALTERNATIVE CHOSEN REPRESENTATION IF THE
WAIVER IS COMPETENT, KNOWING, AND VOLUNTARY.

4. CONSTITUTIONAL AND COMMON LAW LIMITS ON STATE INTERFERENCE

FACT: THE AUTONOMY OF THE INDIVIDUAL IN LEGAL REPRESENTATION ARISES FROM
BOTH THE LIBERTY INTEREST PROTECTED BY THE DUE PROCESS CLAUSE AND THE
COMMON LAW RIGHT TO CONTRACT AND ACT THROUGH AN AGENT.

CONCLUSION OF LAW: BECAUSE THE POWER TO DELEGATE (OR WITHHOLD)
REPRESENTATION IS PRIVATE AND PERSONAL IN ORIGIN, NO BRANCH OF GOVERNMENT
MAY COMPEL OR MAINTAIN REPRESENTATION AGAINST THE WILL OF THE COMPETENT
PRINCIPAL, ESPECIALLY IN THE ABSENCE OF A FINDING OF INCOMPETENCE OR
WAIVER. THE CONSTITUTION FORBIDS COMPELLED LEGAL RELATIONSHIPS UNDER THE
FIRST, FIFTH, AND SIXTH AMENDMENTS, AND THE THIRTEENTH AMENDMENT FORBIDS
INVOLUNTARY PERSONAL SERVITUDE TO ANY APPOINTED AGENT OF THE STATE.

RIGHT TO COUNSEL OF CHOICE IS A SECURED INDIVIDUAL RIGHT

FARETTA V. CALIFORNIA, 422 U.S. 806 (1975): “THE DEFENDANT HAS AN INDEPENDENT
CONSTITUTIONAL RIGHT TO REPRESENT HIMSELF... THE RIGHT TO DEFEND IS
PERSONAL.”

UNITED STATES V. GONZALEZ-LOPEZ, 548 U.S. 140 (2006): VIOLATION OF THE RIGHT TO
COUNSEL OF CHOICE IS A STRUCTURAL CONSTITUTIONAL ERROR, NOT SUBJECT TO
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HARMLESS ERROR REVIEW.
CONSENT TO COUNSEL IS A CONTRACTUAL DELEGATION OF INHERENT RIGHT
MARBURY V. MADISON, 5 U.S. (1 CRANCH) 137 (1803): "THE POWERS OF THE
LEGISLATURE ARE DEFINED AND LIMITED; AND THOSE LIMITS MAY NOT BE
TRANSGRESSED."
A CONTRACT, INCLUDING LEGAL REPRESENTATION, MUST BE ENTERED “KNOWINGLY,
VOLUNTARILY, AND INTELLIGENTLY” (BRADY V. UNITED STATES, 397 U.S. 742 (1970))—A
RULE WHICH APPLIES EQUALLY TO REPRESENTATION BY APPOINTED COUNSEL.

COURTS CANNOT ACT AS A PARTY OR INTERESTED AGENT

TUMEY V. OHIO, 273 U.S. 510 (1927): A JUDGE MAY NOT HAVE "A DIRECT, PERSONAL,
SUBSTANTIAL, PECUNIARY INTEREST" IN THE OUTCOME OF A CASE.

IF THE COURT PRESUMES AUTHORITY TO APPOINT COUNSEL AND THE PERSON HAS
NOT KNOWINGLY AGREED, THEN THE COURT ENTERS INTO THE PROCEEDINGS AS AN
AGENT OR PARTY, VIOLATING THE DUTY OF NEUTRALITY.

NO GENERAL PRESUMPTION ALLOWED OVER SECURED RIGHTS

BOYKIN V. ALABAMA, 395 U.S. 238 (1969): COURTS MUST AFFIRMATIVELY SHOW ON THE
RECORD THAT WAIVERS OF RIGHTS WERE MADE KNOWINGLY AND VOLUNTARILY.

SILENCE OR JUDICIAL ASSUMPTION IS UNCONSTITUTIONAL IN MATTERS INVOLVING
SECURED CONSTITUTIONAL RIGHTS.

STATUTES AT LARGE SUPPORTING INDIVIDUAL LEGAL AUTONOMY
ACT OF MARCH 1, 1793, CH. 20, 1 STAT. 333, WHICH RECOGNIZES THAT ONLY A
COMPETENT PERSON MAY LAWFULLY EXECUTE POWERS OR INSTRUMENTS AFFECTING

THEIR LIBERTY OR RIGHTS.

ACT OF JUNE 25, 1948, CH. 646, TITLE II, 62 STAT. 869, CODIFIES THE FEDERAL
JUDICIARY'S JURISDICTIONAL LIMITS, REAFFIRMING THE SEPARATION OF ROLES
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BETWEEN JUDGE, COUNSEL, AND PARTY.
LSDEVIL’S ADVOCATE POSITION:
CONTRARY ARGUMENT:

THE APPOINTMENT OF COUNSEL FOR INDIGENT DEFENDANTS IS NOT A DEPRIVATION
BUT A PROCEDURAL SAFEGUARD. UNDER GIDEON V. WAINWRIGHT, 372 U.S. 335 (1963),
THE SIXTH AMENDMENT REQUIRES STATES TO PROVIDE COUNSEL WHEN THE
ACCUSED CANNOT AFFORD ONE. THUS, THE COURTS ARGUE, SUCH APPOINTMENTS
ARE PRESUMED CONSTITUTIONAL AND PROTECTIVE.

GJREBUTTAL TO CONTRARY POSITION:

GIDEON’S MANDATE IS CONDITIONAL UPON REFUSAL OR INABILITY, NOT A
PRESUMPTION OF WAIVER OR APPOINTMENT.

IF A PERSON NEITHER CONSENTS NOR IS INCOMPETENT, A FORCED APPOINTMENT
VIOLATES THE RIGHT TO COUNSEL OF CHOICE AND SELF-REPRESENTATION,
PROTECTED IN FARETTA.

GIDEON DID NOT AUTHORIZE IMPOSED COUNSEL WITHOUT CONSENT.

IT AFFIRMS THE RIGHT TO HAVE COUNSEL IF DESIRED, BUT DOES NOT NEGATE THE
POWER TO REFUSE OR TO SELECT ALTERNATE REPRESENTATION.

COURTS CANNOT ASSUME THE ROLE OF PROXY AGENT FOR A PARTY.

WHEN A JUDGE APPOINTS COUNSEL WITHOUT A VALID WAIVER OR WITHOUT
DISCLOSURE OF THE AGENCY PRESUMPTION, IT BREACHES THE COMMON LAW RULE
OF NON-INTERVENTION IN PRIVATE LEGAL AGENCY, AS REAFFIRMED IN EX PARTE
MILLIGAN, 71 U.S. (4 WALL.) 2 (1866).

THE PRESUMPTION OF APPOINTMENT LACKS CONSTITUTIONAL STANDING.

UNDER BOYKIN, CONSTITUTIONAL RIGHTS REQUIRE AFFIRMATIVE WAIVER, NOT
JUDICIAL CONVENIENCE OR EXPEDIENCE.
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(QFACTUAL CONCLUSION:

NO COURT MAY PRESUME TO APPOINT LEGAL REPRESENTATION WITHOUT AN EXPRESS
AND VOLUNTARY DELEGATION OF POWER BY THE INDIVIDUAL. TO DO SO IS TO USURP
A SECURED RIGHT, VIOLATE CONTRACTUAL PRINCIPLES, AND BECOME AN
UNCONSTITUTIONAL PARTY TO THE ACTION, VITIATING NEUTRALITY AND RENDERING
ITS ORDERS VOID AB INITIO.

PETITION BEFORE THE COURT:

1. THE POWER OF ATTORNEY IS INHERENT IN THE INDIVIDUAL
FACT: THE COMMON LAW OF AGENCY RECOGNIZES THAT THE POWER OF ATTORNEY IS
A PRIVATE RIGHT, ORIGINATING FROM INDIVIDUAL LIBERTY, AND MAY BE GRANTED

OR REVOKED AT WILL BY THE COMPETENT PRINCIPAL.

CONCLUSION OF LAW: THIS POWER OF CONTRACT IS NOT A GOVERNMENTAL
PRIVILEGE BUT A PROTECTED PERSONAL RIGHT.

SUPREME COURT PRECEDENT:

MARBURY V. MADISON, 5 U.S. (1 CRANCH) 137 (1803)

BOYKIN V. ALABAMA, 395 U.S. 238 (1969)

EX PARTE MILLIGAN, 71 U.S. (4 WALL.) 2 (1866)

STATUTE AT LARGE:

ACT OF MARCH 1, 1793, CH. 20, § 6, 1 STAT. 333 — ESTABLISHING THAT ONLY A
COMPETENT INDIVIDUAL MAY EXECUTE LEGAL INSTRUMENTS THAT BIND THEM TO

PERSONAL SERVICE.

2. THE RIGHT TO COUNSEL OF CHOICE IS A CONSTITUTIONALLY SECURED INDIVIDUAL
RIGHT

FACT: THE SIXTH AMENDMENT GUARANTEES TO EVERY PERSON THE RIGHT TO
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COUNSEL OF THEIR OWN CHOOSING; IT IS NOT SUBJECT TO OVERRIDE OR
SUBSTITUTION of WAIVER.

CONCLUSION OF LAW: GOVERNMENT INTERVENTION IN THAT CHOICE IS A VIOLATION
OF INDIVIDUAL AUTONOMY AND DUE PROCESS.

SUPREME COURT PRECEDENT:

FARETTA V. CALIFORNIA, 422 U.S. 806 (1975)

UNITED STATES V. GONZALEZ-LOPEZ, 548 U.S. 140 (2006)

GIDEON V. WAINWRIGHT, 372 U.S. 335 (1963)

STATUTE AT LARGE:

ACT OF SEPTEMBER 24, 1789, CH. 20, § 35, 1 STAT. 92 — EXPRESSLY RECOGNIZING THE
RIGHT OF PARTIES TO RETAIN COUNSEL OF CHOICE IN ALL FEDERAL PROCEEDINGS.

3. THE COURT IS NOT A PARTY TO THE POWER OF ATTORNEY (P.0.A.)AGREEMENT
FACT: AN APPOINTMENT OF COUNSEL IS A PRIVATE CONTRACTUAL ACT BETWEEN THE
INDIVIDUAL AND THE ATTORNEY. THE COURT MAY NOT INTERVENE IN THAT

RELATIONSHIP! — no authority TO CONTROL REPRESENTATION under any provision of the

Constitution neither implied nor inferred.

CONCLUSION OF LAW: COURT INTERFERENCE WITHOUT EXPRESS CONSENT OF THE
INDIVIDUAL RENDERS THE APPOINTMENT VOID AS A MATTER OF LAW.

SUPREME COURT PRECEDENT:

TUMEY V. OHIO, 273 U.S. 510 (1927)

WHEELOCK V. FIRST PRESBYTERIAN CHURCH, 119 U.S. 267 (1886)

WEEKS V. UNITED STATES, 232 U.S. 383 (1914)
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STATUTE AT LARGE:

ACT OF JUNE 25, 1948, CH. 646, TITLE II, 62 STAT. 869 — REAFFIRMING SEPARATION OF
JUDICIAL POWERS AND JURISDICTIONAL LIMITS ON FEDERAL COURTS, INCLUDING
ROLE OF OFFICERS.

4. NO JUDGE MAY APPOINT COUNSEL WITHOUT EXPRESS, COMPETENT, VOLUNTARY
WAIVER

FACT: THE PRESUMPTION OF AUTHORITY TO APPOINT COUNSEL or the power of the attorney
either generally or otherwise WITHOUT NOTICE OR CONSENT VIOLATES THE REQUIREMENT
THAT RIGHTS MAY ONLY BE WAIVED THROUGH KNOWING, VOLUNTARY, AND
INTELLIGENT ACTION.

CONCLUSION OF LAW: ANY JUDICIAL APPOINTMENT MADE WITHOUT FULL
DISCLOSURE AND RECORD OF WAIVER VIOLATES THE FIRST, FIFTH, AND SIXTH
AMENDMENTS AND IS VOID.

SUPREME COURT PRECEDENT:

BRADY V. UNITED STATES, 397 U.S. 742 (1970)

NORTH CAROLINA V. BUTLER, 441 U.S. 369 (1979)

JOHNSON V. ZERBST, 304 U.S. 458 (1938)

STATUTE AT LARGE:

ACT OF FEBRUARY 20, 1812, CH. 25, 2 STAT. 676 — FORMALIZING THE PRINCIPLE THAT

NO POWER SHALL BE EXERCISED AGAINST THE INDIVIDUAL EXCEPT BY DUE PROCESS
AND WITH NOTICE AND VOLUNTARY PARTICIPATION.

THE POWER OF ATTORNEY IS INHERENT IN THE PETITIONER:

THE POWER OF ATTORNEY IS A PRIVATE, NON-DELEGABLE RIGHT SECURED BY THE
CONSTITUTION AND CANNOT BE REGULATED BY GOVERNMENTAL BRANCHES IN THE
ABSENCE OF A LAWFUL VIOLATION OF LAW.
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FACT: THE RIGHT TO DELEGATE ONE’S OWN LEGAL AUTHORITY THROUGH POWER OF
ATTORNEY IS A FUNCTION OF PERSONAL LIBERTY. IT IS ROOTED IN THE RIGHT TO
CONTRACT, TO SPEAK, TO ACT, AND TO DEFEND ONESELF. THIS RIGHT IS SECURED
UNDER THE FIRST, FIFTH, SIXTH, NINTH, AND TENTH AMENDMENTS TO THE
CONSTITUTION.

CONCLUSION OF LAW: THIS RIGHT IS NOT GRANTED BY GOVERNMENT. IT IS RETAINED
BY THE INDIVIDUAL AND EXISTS BEYOND ANY STATUTORY FRAMEWORK. AS SUCH, NO
COURT, NO JUDGE, AND NO AGENCY MAY MODIFY, ASSUME, OR REGULATE THE
PRIVATE DELEGATION OF LEGAL AGENCY.

STATUTES AT LARGE SUPPORTING THIS CLAIM:

ACT OF MARCH 1, 1793, CH. 20, § 6, 1 STAT. 333 — ESTABLISHES THAT ONLY A
COMPETENT PERSON MAY EXECUTE POWERS AFFECTING THEIR LIBERTY OR RIGHTS.

ACT OF JUNE 25, 1948, CH. 646, TITLE II, 62 STAT. 869 — CODIFIES THE LIMITS OF
JUDICIAL POWER AND BARS INTERVENTION IN PRIVATE RIGHTS NOT SUBJECT TO
JURISDICTION.

ACT OF SEPTEMBER 24, 1789, CH. 20, § 35, 1 STAT. 92 — RECOGNIZES THE INDIVIDUAL'S
RIGHT TO RETAIN COUNSEL OF CHOICE, AN EXTENSION OF THE POWER TO CONTRACT
LEGAL REPRESENTATION.

SUPREME COURT DECISIONS AFFIRMING THIS CONCLUSION:

FARETTA V. CALIFORNIA, 422 U.S. 806 (1975) — THE RIGHT TO SELF-REPRESENTATION IS
PERSONAL AND CANNOT BE OVERRIDDEN BY THE COURT.

JOHNSON V. ZERBST, 304 U.S. 458 (1938) — ANY WAIVER OF RIGHTS MUST BE KNOWING,
VOLUNTARY, AND INTELLIGENT. PRESUMPTIONS BY COURTS ARE INSUFFICIENT.

MARBURY V. MADISON, 5 U.S. (1 CRANCH) 137 (1803) — THE GOVERNMENT IS BOUND BY
THE CONSTITUTION. RIGHTS NOT DELEGATED TO GOVERNMENT REMAIN WITH THE
PEOPLE.

PUBLIC DEFENDER'S OFFICE OBTAINS POWER:
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THE COURTS ARE CONSTITUTIONALLY BARRED FROM APPOINTING STATE EMPLOYEES
AS DEFENSE COUNSEL IN PROCEEDINGS WHERE THE STATE IS THE OPPOSING PARTY.

FACT: THE OFFICE OF THE PUBLIC DEFENDER IS ESTABLISHED, FUNDED, AND
SUPERVISED BY THE STATE GOVERNMENT, WHETHER UNDER EXECUTIVE OR JUDICIAL
ADMINISTRATION. ALL PERSONNEL THEREIN OPERATE AS STATE ACTORS.

CONCLUSION OF LAW: WHERE THE STATE IS BOTH ACCUSER AND DEFENDER — THE
STRUCTURE IS FACIALLY UNCONSTITUTIONAL. THE INDIVIDUAL’S SIXTH AMENDMENT
RIGHT TO COUNSEL OF CHOICE, THE FIFTH AMENDMENT RIGHT TO DUE PROCESS, AND
THE FOURTEENTH AMENDMENT RIGHT TO EQUAL PROTECTION ARE NULLIFIED.

VERIFIED AUTHORITIES:
(JSTATUTES AT LARGE:

ACT OF SEPTEMBER 24, 1789, CH. 20, § 35, 1 STAT. 92 — AUTHORIZES A PARTY'S RIGHT TO
RETAIN PRIVATE COUNSEL OF CHOICE; NO GOVERNMENT SUBSTITUTION IS PERMITTED
WITHOUT CONSENT.

ACT OF MARCH 3, 1938, CH. 10, 52 STAT. 438 — CREATES THE STRUCTURE OF
ADVERSARIAL FEDERAL CRIMINAL PROCEDURE BASED ON SEPARATE ROLES FOR
ACCUSER, DEFENDER, AND TRIBUNAL.

ACT OF JUNE 25, 1948, CH. 646, TITLE II, 62 STAT. 869 — LIMITS FEDERAL COURT
JURISDICTION AND PROHIBITS JUDICIAL USURPATION OF EXECUTIVE REPRESENTATION
AUTHORITY.

\ JSUPREME COURT PRECEDENT:

TUMEY V. OHIO, 273 U.S. 510 (1927): “IT IS A VIOLATION OF DUE PROCESS FOR A JUDGE
TO ACT WITH AN INTEREST, NO MATTER HOW SMALL, IN THE OUTCOME.” BY
EXTENSION, A STATE CANNOT BE ON BOTH SIDES OF A CRIMINAL PROCEEDING.

GIDEON V. WAINWRIGHT, 372 U.S. 335 (1963): STATES MUST PROVIDE COUNSEL, BUT
THAT COUNSEL MUST BE COMPETENT, INDEPENDENT, AND NOT UNDER THE CONTROL
OF THE OPPOSING PARTY.

WHEELOCK V. FIRST PRESBYTERIAN CHURCH, 119 U.S. 267 (1886): AN AGENT MAY NOT
REPRESENT TWO MASTERS WITH OPPOSING INTERESTS. LEGAL CONFLICT OF INTEREST
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IS STRUCTURAL AND DISQUALIFIES REPRESENTATION.

NO WORKAROUND EXISTS IN THE TEXT OF THE CONSTITUTION TO PERMIT STATE-
CONTROLLED DEFENSE COUNSEL IN CASES WHERE THE STATE IS THE PROSECUTOR.

SUCH CONFLICT ABRIDGES MULTIPLE CONSTITUTIONAL PROTECTIONS AND NULLIFIES
THE STRUCTURAL SEPARATION OF POWERS.

THE PETITIONER STANDS ON THIS AS A MATTER OF FACT, NOT ARGUMENT.

CONFLICT OF INTEREST INHERENT IN THE PROCESS

THE USE OF STATE-EMPLOYED COUNSEL TO REPRESENT INDIVIDUALS IN
PROCEEDINGS WHERE THE STATE IS THE ADVERSARIAL PARTY CONSTITUTES AN
INHERENT CONFLICT OF INTEREST AND VIOLATES THE STRUCTURAL FOUNDATION OF
THE UNITED STATES CONSTITUTION.

FACT: PUBLIC DEFENDERS ARE STATE EMPLOYEES, OPERATING UNDER SALARY,
SUPERVISION, AND POLICY CONTROLLED BY THE STATE OR SUBDIVISIONS THEREOF.
THEY ARE NOT PRIVATE AGENTS RETAINED BY THE DEFENDANT, BUT RATHER STATE-
AUTHORIZED AGENTS ASSIGNED BY JUDICIAL OR EXECUTIVE FUNCTION.

CONCLUSION OF LAW: WHEN THE STATE IS A PARTY TO THE CASE—WHETHER AS
PROSECUTOR, COMPLAINANT, OR SENTENCING AUTHORITY—IT CANNOT
CONSTITUTIONALLY OCCUPY BOTH ADVERSARIAL POSITIONS SIMULTANEOUSLY. TO
DO SO VIOLATES THE FUNDAMENTAL DUE PROCESS REQUIREMENTS UNDER THE FIFTH
AMENDMENT, THE ADVERSARIAL TRIAL GUARANTEE UNDER THE SIXTH AMENDMENT,
AND THE FAIR TRIBUNAL REQUIREMENT UNDER THE FOURTEENTH AMENDMENT.

LLSCONSTITUTIONAL STRUCTURE:

THE RIGHT TO COUNSEL OF CHOICE IS A CONSTITUTIONALLY SECURED RIGHT, AND
ANY ATTEMPT TO SUBSTITUTE THAT RIGHT WITH STATE-APPOINTED AGENTS
OPERATING UNDER EXECUTIVE CONTROL INVALIDATES THE TRIAL STRUCTURE.

A PROCESS THAT PERMITS THE STATE TO SPEAK FOR BOTH SIDES OF A CASE IS
CONSTITUTIONALLY VOIDABLE BY THE INDIVIDUAL, AND VOID AS A MATTER OF
STRUCTURAL DEFECT FROM ITS INCEPTION.
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"STATUTES AT LARGE:
ACT OF SEPTEMBER 24, 1789, CH. 20, § 35, 1 STAT. 92 — ESTABLISHES THE INDIVIDUAL’S
RIGHT TO “ASSISTANCE OF COUNSEL” BY CHOICE, NOT BY COMPULSION.

ACT OF MARCH 3, 1938, CH. 10, 52 STAT. 438 — CREATES FEDERAL PROCEDURAL RULES
THAT SEPARATE GOVERNMENT PROSECUTION FROM DEFENSE, A STRUCTURAL
REQUIREMENT PRESERVED BY DUE PROCESS.

ACT OF JUNE 25, 1948, CH. 646, TITLE I, 62 STAT. 869 — LIMITS FEDERAL JUDICIAL AND
PROSECUTORIAL JURISDICTION TO PREVENT OVERLAP OR CONTROL OF ADVERSARIAL
DEFENSE.

tif SUPREME COURT PRECEDENT:

TUMEY V. OHIO, 273 U.S. 510 (1927): “IT IS A VIOLATION OF DUE PROCESS FOR ANY
OFFICER TO HOLD A PECUNIARY OR INSTITUTIONAL INTEREST IN THE OUTCOME OF A
CASE.”

=> A PUBLIC DEFENDER ANSWERS TO THE SAME INSTITUTION PROSECUTING THE CASE.

UNITED STATES V. CANTRELL, 530 F.3D 684 (2008): A “POTENTIAL CONFLICT OF
INTEREST” WHERE COUNSEL IS NOT INDEPENDENT MANDATES REVERSAL UNLESS
KNOWINGLY WAIVED.

GIDEON V. WAINWRIGHT, 372 U.S. 335 (1963): THE COURT REQUIRES INDEPENDENT,
COMPETENT COUNSEL, NOT MERELY A NOMINAL REPRESENTATIVE. A PUBLIC
DEFENDER WHO CANNOT ADVOCATE ZEALOUSLY DUE TO SYSTEMIC TIES IS
STRUCTURALLY DISQUALIFIED.

= -LEGAL CONCLUSION:

THE USE OF STATE-EMPLOYED COUNSEL TO DEFEND A PERSON AGAINST THE STATE IS
STRUCTURALLY UNCONSTITUTIONAL, VOIDABLE BY RIGHT AT ANY TIME BY THE
INDIVIDUAL, AND VOID AB INITIO IF DUE PROCESS IS NOT AFFIRMATIVELY
DOCUMENTED.

ANY PROCEEDING THAT DEPENDS ON SUCH ARRANGEMENT IS TAINTED BY
STRUCTURAL ERROR AND MUST BE REVERSED, ANNULLED, OR DECLARED INVALID ON
COLLATERAL REVIEW.
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VIOLATING DUE PROCESS RIGHTS AND UNCONSTITUTIONAL IN PRACTICE

THE ACT OF AUGUST 1, 1888, CH. 866, § 6, 25 STAT. 357, EXPRESSLY MANDATES THAT
WHENEVER THE CONSTITUTIONALITY OF AN ACT OF CONGRESS IS CHALLENGED IN
ANY COURT OF THE UNITED STATES, THE COURT ITSELF — NOT THE PETITIONER — IS
REQUIRED BY LAW TO NOTIFY THE ATTORNEY GENERAL OF THE UNITED STATES, WHO
MAY THEN APPOINT THE SOLICITOR GENERAL TO INTERVENE IN DEFENSE OF THE LAW.

THIS STATUTE AT LARGE REMAINS IN FULL FORCE AND IS THE ORIGINAL LEGISLATIVE
FOUNDATION THAT ESTABLISHES A NONDISCRETIONARY DUTY UPON THE COURT TO
PROVIDE NOTICE TO THE EXECUTIVE BRANCH WHEN FEDERAL LAW IS QUESTIONED
ON CONSTITUTIONAL GROUNDS.

FAILURE TO PROVIDE THIS NOTICE VIOLATES THE STRUCTURAL SEPARATION OF
POWERS, THE DUE PROCESS CLAUSE OF THE FIFTH AMENDMENT, AND THE
ADVERSARIAL MANDATE RECOGNIZED IN:

MARTIN V. HUNTER’S LESSEE, 14 U.S. (1 WHEAT.) 304 (1816)

INS V. CHADHA, 462 U.S. 919 (1983)

UNITED STATES V. WINDSOR, 570 U.S. 744 (2013)

YOUNG V. UNITED STATES EX REL. VUITTON, 481 U.S. 787 (1987)

THEREFORE, I do hereby DEMAND THAT THE COURT GIVE MANDATORY NOTICE TO THE
SOLICITOR GENERAL UPON RECEIPT OF A CONSTITUTIONAL CHALLENGE TO
SENTENCING PRACTICES, STATUTES, OR POLICIES IS LAWFULLY COMPELLED BY
CONGRESS AND IS NOT A MATTER OF JUDICIAL DISCRETION.

CHALLENGE TO THE STATUTE AS UNCONSTITUTIONAL

STATUTORY AUTHORITY FOR COURT-APPOINTED COUNSEL

ACT OF JULY 22, 1930 (46 STAT. 1492)

THIS ACT ESTABLISHED THE BASIS FOR PUBLIC DEFENDER REPRESENTATION IN
FEDERAL CASES. IT GRANTED FEDERAL COURTS THE POWER TO APPOINT COUNSEL
FOR DEFENDANTS UNABLE TO SECURE REPRESENTATION IN FELONY CASES.
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ACT OF AUGUST 10, 1956 (70A STAT. 62)

AUTHORIZED MILITARY COURTS TO APPOINT COUNSEL FOR SERVICEMEMBERS IN
COURT-MARTIAL PROCEEDINGS, RECOGNIZING THE NEED FOR DUE PROCESS
PROTECTIONS IN UNIFORMED COURTS.

ACT OF MAY 24, 1938 (52 STAT. 438)

INCLUDED AS PART OF THE RULES ENABLING ACT, WHICH PERMITTED THE SUPREME
COURT TO PROMULGATE RULES OF FEDERAL PROCEDURE INCLUDING THOSE
GOVERNING THE RIGHT TO COUNSEL.

ACT OF MAY 4, 1938 (52 STAT. 438), KNOWN AS THE FEDERAL RULES OF CRIMINAL
PROCEDURE ENABLING ACT

THIS CONGRESSIONAL ACT ESTABLISHED THAT DEFENDANTS ARE ENTITLED TO DUE
PROCESS AND ADEQUATE REPRESENTATION, THEREBY DELEGATING LIMITED
AUTHORITY TO FEDERAL COURTS TO APPOINT COUNSEL UNDER CERTAIN CONDITIONS.

POLICY AND PROCEDURAL FRAMEWORK

THE CRIMINAL JUSTICE ACT OF 1964 (78 STAT. 552)

WHILE THIS IS A PUBLIC LAW, IT FORMED THE PROCEDURAL BASIS THROUGH WHICH
INDIGENT DEFENDANTS MAY RECEIVE REPRESENTATION FROM PUBLIC DEFENDERS.
THE ACT REQUIRED COURTS TO MAKE FINDINGS OF INDIGENCY AND THEN DESIGNATE
REPRESENTATION THROUGH DEFENDER SERVICES.

JUDICIAL CONFERENCE OF THE UNITED STATES — MODEL PLAN FOR IMPLEMENTATION
DEVELOPED TO ADMINISTER THE FEDERAL DEFENDER PROGRAM UNDER
CONSTITUTIONAL SAFEGUARDS. WHILE NOT LAW, THIS GUIDANCE REFLECTS HOW
COURTS MAY ADMINISTER COUNSEL APPOINTMENTS WITHOUT VIOLATING THE
SEPARATION OF POWERS.

NO ACT OF CONGRESS HAS EVER DELEGATED AUTHORITY TO APPOINT MEMBERS OF
THE ATTORNEY GENERAL’S OFFICE AS COUNSEL FOR DEFENDANTS.

SUCH AN APPOINTMENT WOULD VIOLATE SEPARATION OF INTERESTS AND CREATE A
STRUCTURAL CONFLICT OF INTEREST, AS THE ATTORNEY GENERAL IS BY DEFINITION
A PARTY OPPOSING THE DEFENSE IN A FEDERAL CRIMINAL ACTION.
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CONCLUSION OF LAW

A COURT MAY APPOINT COUNSEL ONLY UNDER EXPRESS AUTHORITY GRANTED BY AN
ACT OF CONGRESS WHICH IS CONSISTENT WITH ARTICLE HI OF THE UNITED STATES
CONSTITUTION. THIS POWER DOES NOT EXTEND TO APPOINTING A REPRESENTATIVE
OF THE ATTORNEY GENERAL’S OFFICE TO ACT IN FAVOR OF A DEFENDANT, AS THIS
WOULD CONSTITUTE A VIOLATION OF DUE PROCESS, EQUAL PROTECTION, AND THE
RIGHT TO A FAIR TRIAL.

NO STATUTE AT LARGE EXISTS WHICH AUTHORIZES COURTS TO APPOINT
PROSECUTING AUTHORITIES AS DEFENSE COUNSEL.

FOR SPECIFIC STATUTORY REFERENCES IN ORIGINAL ENROLLMENT, YOU MAY REFER
TO:

46 STAT. 1492 (1930)

70A STAT. 62 (1956)

52 STAT. 438 (1938)

78 STAT. 552 (1964)

CHALLENGE TO THE COURT RULE, POLICY, PRACTICE AND PROCEDURE AS
UNCONSTITUTIONAL

THE PETITIONER HEREBY CHALLENGES, AS A MATTER OF CONSTITUTIONAL LAW, ALL
STATUTES, POLICIES, AND PROCEDURES—WHETHER FEDERAL OR STATE—THAT
CONFLICT WITH, INFRINGE UPON, OR NULLIFY THE ENUMERATED AND
UNENUMERATED RIGHTS SECURED BY THE CONSTITUTION OF THE UNITED STATES.

THIS CHALLENGE IS LODGED UNDER THE FIRST AMENDMENT RIGHT TO PETITION FOR
REDRESS, THE FIFTH AMENDMENT RIGHT TO DUE PROCESS, THE SIXTH AMENDMENT
RIGHT TO COUNSEL OF CHOICE, AND THE NINTH AMENDMENT RESERVATION OF
RIGHTS TO THE PEOPLE. THE POWER OF ATTORNEY IS A PRIVATE DELEGATION OF
AUTHORITY AND DERIVES FROM THE INDIVIDUAL’S INHERENT CAPACITY TO ACT—
NOT FROM ANY GOVERNMENTAL GRANT.
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ANY POLICY, PROCEDURE, OR STATUTORY IMPLEMENTATION WHICH PRESUMES TO:

OVERRIDE THE PETITIONER’S RIGHT TO CONTRACT AND TERMINATE LEGAL COUNSEL;

PRESUME OR ASSUME REPRESENTATION WITHOUT EXPRESS AND VOLUNTARY
CONSENT;

IMPOSE LEGAL RELATIONSHIPS THAT VIOLATE THE INDIVIDUAL’S AUTONOMY OR DUE
PROCESS;

AUTHORIZE DUAL SENTENCING STRUCTURES NOT APPROVED IN THE ORIGINAL
ENACTMENT OF CONGRESSIONAL STATUTES AT LARGE;

OR CIRCUMVENT THE REQUIREMENT TO NOTIFY THE UNITED STATES SOLICITOR
GENERAL IN CASES OF CONSTITUTIONAL CHALLENGE TO FEDERAL STATUTES OR
RULES;

IS HEREBY CHALLENGED AS BEING UNCONSTITUTIONAL, FOREIGN TO THE
CONSTITUTION, AND INAPPLICABLE TO THIS ACTION.

THIS CONSTITUTIONAL CHALLENGE DEMANDS STRICT SCRUTINY OF ALL SUCH
STATUTES OR IMPLEMENTED RULES, AS THEY CANNOT ABROGATE, REPEAL, OR
SUBSTITUTE THE RIGHTS GUARANTEED BY THE SUPREME LAW OF THE LAND—THE
CONSTITUTION OF THE UNITED STATES—WHICH BINDS ALL PUBLIC SERVANTS,
OFFICERS, AND JUDICIAL AUTHORITIES.

THE COURT IS MANDATED BY LAW TO RULE ON THIS CHALLENGE AND MAY NOT
DEFER, AVOID, OR DENY A HEARING ON THE MERITS OF THESE CLAIMS.

the aforementioned is wholly accurate and based on first-hand knowledge and/or information and
presented before this court on this day as expressed herein as truths under penalty of the law so help me
God held otherwise!".
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RESPECTFULLY PRESENTED,

Robert Henry Rwernider, Jr

With Permission
ELECTRONIC SIGNATURE: /S/ Robert Henry Rivernider, Jr

Date: July 7, 2025

Robert Henry Rivernider, Pro Se
14 S Bobwhite Road

Wildwood, Florida 34785
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CERTIFICATE OF SERVICE

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1, Robert H. Rivernider, hereby certify that a copy of this filing has been sent to the following:

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